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                       IN THE UNITED STATES DISTRICT COURT

                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA                              CRIMINAL NO. 18.249

               v                                      DATE FILED:

 ABDUL IBRAHIM WEST,                                  VIOLATIONS:
   aflrla "Assault Rifle Ab,"
   aflrla "AR-Abr"                                    21 U.S.C. S 846,84r(a)(r), @XIXA)
   alUa"El Patron,"                                   (conspiracy to distribute 50 grams or
   alUao'the Goon,"                                   more of methamphetamine, 5 kilograms
 JAMAAL BLANDING,                                     or more of cocaine, 280 grams or more of
   a,lUa "Khazr"                                      crack, and 100 grams or more of heroin -
   afl</a "Bionickhazr"                                1   count)
   aMa"Deangelo Smithr"                               21 U.S.C. $ 841(aXl) (distribution of a
 JAMEEL HICKSON                                       controlled substance - 7 counts)
   alWa"Melianor"                                     21 U.S.C. $ 841(a)(1) (possession with
   alWa"OGr"                                          intent to distribute a controlled substance
 RTCHARD CHASE HOOVER,                                - 4 counts)
   a[Wa"Boogr"                                        18 U.S.C. $ 924(c) (possession of a firearm
 DONTEZ STEWART                                       in furtherance of a drug trafficking
   aMa "Tazr"                                         offense - 1 count)
 AMIR BOYER                                           18 U.S.C. $ 922(gX1) (possession of a
    a/k/a "Mullar"                                    firearm by a felon - 3 counts)
 DARYL BAKER                                          21 U.S.C. $ 2 (aiding and abetting)
   aflrla "Shotti,"                                   Notice of forfeiture
 HANS GADSON
   a/h/a "No Brakes Brasr"
 DENNIS HARMON




                          SECOND SUPERSEDING INDICTMENT

                                          COUNT ONE

THE GRAND JURY CHARGES THAT:

               1.     From on or about March 22,2017 , through on or about June 12,2018, rn

Philadelphia, in the Eastern District of Pennsylvania, defendants

                                  ABDUL IBRAHIM WEST,
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                                     a/k/a "Assault Rifle Ab,"
                                          aflrla "AR-Abr"
                                        alWz"El Patron,"
                                         aMa"the Goono"
                                     JAMAAL BLANDING,
                                           allr/a "Khazr"
                                       aMa"Bionickhaz,"
                                     alHa"Deangelo Smith,"
                                      JAMEEL HICKSON,
                                         alWa"Melianor"
                                            alWa"OGr"
                                  RICHARD CHASE HOOVER,
                                           alWa"Boogr"
                                      DONTEZ STEWART,
                                            alUa"Tazr"
                                         AMIR BOYER,
                                          aflrla "Mullart'
                                        DARYL BAKER,
                                        a/k/a "Shotti," and
                                         HANS GADSON,
                                      a/k/a "NoBrakes Bras,"

conspired and agreed, together with others known and unknown to the grand jury, to knowingly

and intentionally distribute controlled substances, that is, 5 kilograms or more of a mixture and

substance containing a detectable amount of cocaine, a Schedule    II controlled   substance, 280

grams or more of a mixture and substance containing a detectable amount of cocaine base

("crack"), a Schedule II controlled substance, and 50 grams or more of methamphetamine

(actual), a Schedule II controlled substance, in violation of Title 21, United States Code, Section

841(a)(1),   (bxlXA), and 100 grams or more of a mixture   and substance containing a detectable

amount of heroin, a Schedule I controlled substance, in violation of Title 21, United States Code,

Section 84 I (a)(1 ), (bX1)(B).

                                     MANNER AND MEANS

                 It was aqartof that consPiracY that:

                 1.     Defendants ABDUL WEST, JAMAAL BLANDING, JAMEEL



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HICKSON, RICHARD CHASE HOOVER, DONTEZ STEWART, AMIR BOYER, DARYL

BAKER, and HANS GADSON, coordinated with each other, and with others known and

unknown to the grand jury (hereinafter, this group, a Drug Trafficking Organization, will be

referred to collectively as "the DTO"), to obtain distribution quantities, that is, multi-kilogram

quantities, of various controlled substances, including methamphetamine and cocaine, from

sources of supply located in California and elsewhere.   At all times, defendant WEST was the

leader of the DTO.

               2.      Defendant ABDUL WEST owned and/or maintained properties in

 Philadelphia, Pennsylvania within which he and the DTO could gather to coordinate drug

 trafficking and manage their drug trafhcking operation, including3234 N. Sydenham Street,

 Philadelphia (also known as "the Mansion"), and2900 N. Taylor Street, Philadelphia (also

 known as "the Lounge"). Defendant WEST and other members of the DTO maintained

properties within which they could gather to coordinate drug trafficking and manage their drug

 trafficking operation, including 2323 Race Street, Philadelphia, and 250 N. Christopher

 Columbus Boulevard, Philadelphia. Members of the DTO used false identifications to rent

 apartments at2323 Race Street, and 250 N. Christopher Columbus Boulevard to prevent

 investigation into their backgrounds and prevent detection by law enforcement.

               3.      Defendants WEST, HICKSON, and BLANDING would coordinate the

 delivery of various controlled substances from sources of supply in Los Angeles, Califomia to

 Philadelphia. Defendants HICKSON and BLANDING carried money for payment and

 arranged for the purchase of distribution quantities of controlled substances on trips between

 Philadelphia and Los Angeles.

               4.      Defendants HICKSON and BLANDING traveled via air to and from the


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Philadelphia International Airport to the Los Angeles Intemational Airport to arrange for

shipments of controlled substances for themselves and other members of the DTO, to negotiate

price and to pay for shipments of controlled substances with the source of supply in Califomia.

              5.      Defendant HOOVER drove his Volvo truck tractor from Philadelphia to

Los Angeles, Califomia where he would coordinate with defendants HICKSON and

BLANDING to collect distribution quantities of controlled substances and US Currency and

drive it back from Los Angeles to Philadelphia.

              6.      Defendants WEST, HICKSON, BLANDING, BOYER, GADSON, and

BAKER coordinated the arrival of the controlled substances with HOOVER and each other to

arrange for the controlled substances to be broken down into street-level distribution quantities

at properties controlled by members of the DTO, including the Mansion,2323 Race Street, and

250 North Columbus Boulevard.

              7.      Members of the DTO pooled their money together to pay for the

controlled substances and operational expenses, and subsequently shared in the proceeds     of

drug trafficking.

               8.     When shipments of controlled substances from Los Angeles included

cocaine, some members of the DTO would cook a portion of the cocaine to create distribution

quantities of cocaine base ("crack").

               g.     Defendant WEST established roles and responsibilities for members of the

DTO, including assigning certain narcotics trafficking streams to various "lieutenants," who

included defendants BLANDING, BAKER and BOYER'

               10.    DCfENdANtS   WEST, BLANDING, STEWART, BAKER, BOYER,                   ANd


GADSON, as well as others known and unknown to the grand
                                                         jury, distributed the controlled



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substances both in and around the Philadelphia area. Members of the DTO broke down

kilogram quantities into smaller quantities to sell to their individual customers. They sometimes

sold distribution amounts between themselves when one of their individual customers wanted

something one member of the group did not have but which another member of the group did

have.

              I   l.   Defendants HARMON and HOOVER as well as other members of the

DTO were responsible for staying with and protecting the controlled substance supplies kept at

the various residences owned and maintained by WEST and other members of the DTO.

               12.     Members of the DTO kept firearms with them and at the various DTO

residences to intimidate those with whom they dealt, and to protect their drug stashes and the

profits derived therefrom from others who may attempt to rob them.

              13.      Defendants WEST, BOYER and GADSON and other members of the

DTO wrote, produced and distributed songs via the Internet and social media which lyrics

reflected their drug trafficking activities and threats of violence to others to protect and maintain

their drug trafficking activities and prevent witnesses from cooperating with law enforcement.

               14.     Defendants WEST and other members of the DTO recruited lower, street-

level drug distributors, known and unknown to the grand jury, to distribute controlled

substances throughout Philadelphia and the surrounding area, and return the proceeds to

members of the DTO.

               15.     Members of the DTO used their cellular telephones to coordinate with

each other and those outside the DTO to acquire, transport, and distribute controlled substances

throughout Philadelphia and the surrounding area.

               16.     The individual hereafter identified as "Buyer 1," whose identity is known



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to the grand jury, was a Confidential Informant working with the Federal Bureau of

Investigation posing as a private citizen interested in purchasing narcotics.

               17.     The individual hereafter identified as "Buyer 2," whose identity is known

to the grand jury, was a Confidential Informant working with the Federal Bureau of

Investigation posing as a private citizen interested in purchasing narcotics.

                                         OVERT ACTS

               In furtherance of the conspiracy and to accomplish its objects, defendants

ABDUL WEST, JAMAAL BLANDING, JAMEEL HICKSON, RICHARD CHASE HOOVER,

DONTEZ STEWART, AMIR BOYER, DARYL BAKER, and HANS GADSON, and others

known and unknown to the Grand Jury, committed the following overt acts, among others, in the

Eastern District of Pennsylvania and elsewhere:

               I   .   On or about March 22, 2017 , members of the DTO rented Apartment       2I9


at Edgewater Apartments at 2323 Race Street using a false identification in the name of "Tabitha

Bishop" for the purpose of conducting drug trafficking activities in a high-end apartment

building, to protect their narcotics and prevent detection by law enforcement.

               2.      On or about May   l,   2017, in Philadelphia, Pennsylvania, an undercover

law enforcement officer (UC) met with defendant DONTEZ STEWART in the area of 2000

Bridge Street, Philadelphia, who introduced himself as "Taz". STEWART sold the UC two vials

of cocaine base ("crack") in exchange for $20 US currency and gave the UC the telephone

number XXX-XXX-3893 as a number where he could be reached.

               On or about June 6, 2017, in Philadelphia, Pennsylvania:

               3.      Buyer 1 placed a call to defendant STEWART on telephone number

XXX-XXX-3893 to arrange for the purchase of cocaine base ("crack").


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                    4.     Buyer I traveled to 5200 Torresdale Avenue to meet defendant

STEWART and discuss the arrangements for the purchase of a quarter ounce of cocaine base

("crack").

                    5.     Defendant STEWART then drove to and entered the Mansion, where

defendant ABDUL WEST was also present. Defendant STEWART returned to Buyer 1, where

STEWART provided approximately 6.278 grams cocaine base ("crack") in exchange for $340

US currency.

                    On or about June 22,2017, Philadelphia, Pennsylvania:

                    6.     Buyer   1   placed a call to defendant STEWART on telephone number

XXX-XXX-3893 to arrange for the purchase of cocaine base ("crack").

                    7.     Buyer 1 met defendant STEWART on the 5200 block of Torresdale

Avenue where Buyer 1 showed defendant STEWART $1,200 US currency for the purchase               of

cocaine base   ("crack"). STEWART returned the money to Buyer I and left to obtain the cocaine

base   ("crack").

                    8.     Defendant ABDUL WEST drove from the Mansion to the areanear 444

North 3rd Street, Philadelphia, where he provided defendant STEWART with cocaine base

"crack" to sell to Buyer    1.


                    9.     Defendant STEWART returned to Buyer       I   and sold Buyer   1



approximately 24 grams of cocaine base ("crack") in exchange for $1,200 US currency.

                    On or about August 17,2017, Philadelphia, Pennsylvania:

                    10.    Buyer   1   placed a call to defendant STEWART on Telephone number

XXX-XXX-3893 to arrange for the purchase of cocaine base ("crack").

                    11.    Buyer   I   met defendant STEWART in the vicinity of 6391 Oxford Avenue



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where Buyer   I   gave Defendant Stewart $ 1,800 US currency for the purchase of cocaine base

("crack").

                  12.   Defendant STEWART then drove to and entered the Mansion, where

defendant ABDUL WEST was also present. Defendant STEWART returned to Buyer 1, where

Stewart provided approximately 33.9 grams cocaine base ("crack") to Buyer 1.

                  13.   On or about September 3,2017, defendant JAMAAL BLANDING

coordinated picking up money for narcotics at the Mansion from defendant HANS GADSON.

                  14-   On or about September ll,2}l7,defendants JAMAAL BLANDING and

HANS GADSON used their cellular telephones to coordinate             a drug transaction.


                  15.   On or about September 10,2017, defendants JAMAAL BLANDING and

ABDUL WEST coordinated defendant WEST collecting narcotics and/or US currency for

payment of narcotics from a stored location at the Mansion.

                  16.   On or about September 1I,2017, defendants ABDUL WEST, JAMAAL

BLANDING, JAMEEL HICKSON, RICHARD HOOVER, DONTEZ STEWART, AMIR

BOYER, HANS GADSON, DARYL BAKER, and DENNIS HARMON maintained a stash

house at the Mansion which included $8,101 US currency, a .45 caliber firearm, and possessed

with intent to distribute approximately 62 grams of   a   mixture and substance containing a

detectable amount of cocaine base ("crack"), approximately 229 grams of a mixture and

substance containing a detectable amount of heroin, and approximately 48 grams of a mixture

and substance containing a detectable amount of methamphetamine.

                  17.   On or about September 11,2017, defendant DARYL BAKER possessed

with intent to distribute approximately 169 grams of      a   mixture and substance containing a

detectable amount of cocaine base ("crack"), and approximat ely 371 grams of a mixture and



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substance containing a detectible amount of cocaine. These narcotics were recovered in a vehicle

outside of the Mansion.

               18.    On or about September 12,2017, defendant JAMAAL BLANDING used

his cellular telephone to update defendant AMIR BOYER and other members of the DTO

regarding the status of the Mansion that had been searched by law enforcement on September 11,

2017. Defendant HOOVER went to the Mansion and used his cellular telephone to

communicate with defendant BLANDING about the status of the drugs and currency that had

been stored at the Mansion.

               19.    On or about September 28,2017, defendant BLANDING coordinated the

collection of narcotics and/or US currency for payment of narcotics from defendant JAMEEL

HICKSON at 1 Brown Street, Philadelphia, and then coordinated with defendant AMIR BOYER

to meet defendant BLANDING on his retum.

               On or about October 19,2017, in Philadelphia, Pennsylvania:

               20.    Buyer 1 contacted defendant STEWART by phone calls and text messages

to his telephone number XXX-XXX-3893 to arrange for the sale of cocaine base ("crack"),

methamphetamine, and a firearm.

               21.    Buyer 1 met defendant STEWART at the Dunkin Donuts at 6391 Oxford

Avenue, Philadelphia, where STEWART provided Buyer 1 with approximately 6.8 grams           of

crystal methamphetamine in exchange for $200 US currency.

              22.     Later that afternoon, STEWART again met with Buyer     I   at the Dunkin

Donuts at 6391 Oxford Avenue, Philadelphia, where defendant STEWART sold Buyer          1




approximately 31.3 grams of a mixture and substance containing cocaine base ("crack") and a

.25 caliber Phoenix Arms Model HP25A firearm bearing serial number 4400590 in exchange for



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$1,450 US currency for the cocaine base ("crack") and $450 US currency for the firearm.

                23.      On or about October 21,2017, defendants WEST and BLANDING

communicated via cellular telephone to discuss the quantity, quality and sources of the drugs

used in their drug trafficking.

                24.      On or about October 31,2017, defendant BLANDING coordinated by

cellular telephone to bring US currency for narcotics trafficking to defendant WEST at the

Lounge.

                25.      On or about November 2,2077, defendant HOOVER drove his Volvo

truck tractor from Philadelphia headed west toward Los Angeles, California.

                26.      On or about November 9,2017, defendant BLANDING uses his cellular

telephone to request an amount of narcotics from defendant WEST, who agrees to provide it to

him that day.

                27   .   On or about November 12,2017, defendant HICKSON traveled from

Philadelphia International Airport to Los Angeles International Airport.

                28.      On or about November 14,2017, defendant BLANDING traveled from

Philadelphia International Airport to Los Angeles, where he was met by defendant HICKSON.

Defendant BLANDING also sent a message to defendant HOOVER advising defendant

HOOVER of defendant BLANDING's travel arrangements and making arangements to meet.

                29.      On or about November 15,2017, defendant HOOVER, HICKSON and

BLANDING used their cellular telephones to coordinate meeting while in Los Angeles.

Defendant BLANDING also contacted defendant BAKER to inform defendant BAKER that

defendants   BLANDING, HICKSON, and HOOVER are in Los Angeles.

                30.      On or about November 16,2017, defendant HOOVER departed the Los



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Angeles area with narcotics in his Volvo truck tractor for himself and members of the DTO

Defendant BLANDING communicated by telephone with defendant ABDUL WEST to

coordinate delivery of packages of narcotics from Los Angeles, California to Philadelphia.

                3   1.   On or about November 20,2017 , defendant HOOVER returned in his

Volvo truck tractor to Philadelphia, Pennsylvania, where he unloaded narcotics from his Volvo

truck tractor into his Chevrolet Trailblazer SUV and proceeded to deliver them to JAMEEL

HICKSON at 1 Brown Street, Philadelphia.

                32.      On or about November 27,2017, defendant HANS GADSON used his

cellular telephone to communicate with defendant ABDUL WEST about the status of their drug

traffrcking on that date.

                33.      On or about November 27,2017, defendants GADSON and WEST used

their cellular telephones to discuss the status of their drug trafficking on that date.

                34.      On or aboutNovember 29,2017, defendants WEST and BAKER

discussed the status of their current and future planned drug trafficking activities and DTO

operations.

                35.      On or about November 30,2017, defendant WEST used his cellular

telephone to communicate with defendant GADSON to direct defendant GADSON to 2323 Race

Street, Philadelphia for drug trafficking activities.

                36.      On or about December 1,2017, defendants BLANDING and BAKER had

a telephone conversation    to discuss their current and future planned drug trafficking activities

and DTO operations.

                37.      On or about December 5,2017, defendants WEST and BAKER had a

telephone conversation to arrange drug traffrcking on that date with other members of the DTO.



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               38.    On or about December 6,2017, defendants WEST, BAKER, and

GADSON had a telephone conversation to discuss drug trafficking.

                39.   On or about December 7,2017, defendants BLANDING and BAKER had

a telephone conversation   to discuss future drug trafficking activities in California with other

members of the DTO.

                40.   On or about December 8,2017, defendants BLANDING and BOYER

communicated via cellular telephone about payment of rent for the apartment in the name        of

"Tabitha Bishop."

                41.   On or about December 12,2017 , defendant HOOVER left Philadelphia in

his Volvo truck tractor headed west toward Los Angeles, California, where he arrived on

December 15,2017.

               42.    On or about December 16,2017, defendants HICKSON and BLANDING

communicated with each other via cellular telephone before they departed from Philadelphia

International Airport and arrived at Los Angeles Intemational Airport. Defendants HICKSON

and   BLANDING communicated with each other again to coordinate upon arrival in Los

Angeles.

                43.   On or about December 16,2017, defendant BLANDING communicated

with defendant BAKER to discuss defendant BLANDING's activities in Los Angeles with other

members of the DTO.

                44.   On or about December 17,2017, defendants WEST, BLANDING,

HOOVER, and BOYER coordinated with each other via cellular telephone to pool money to

purchase narcotics.

                45.   On or about December 18,2017, defendants WEST and BAKER had a



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telephone conversation to discuss drug trafficking.

               46.        On or about December 19,2017, defendants BLANDING and HICKSON

coordinated drug trafficking activities via their cellular telephones while in Los Angeles.

               47.        On or about December 20,2017, defendants WEST and BLANDING used

their cellular telephones to communicate about getting a sample of drugs to test the quality from

a source in New   York.

               48.        On or about December 21,2017, defendants BLANDING and HICKSON

arranged to meet at the Lounge.

               49.        On or about December 22,2017, defendant HOOVER returned to

Philadelphia in his Volvo truck tractor and unloaded narcotics into his Chevrolet Trailblazer,

which he then drove to 2323 Race Street, Philadelphia. Defendant HOOVER delivered the

narcotics to defendant WEST at2323 Race Street.

               50.        On or about December 23,2017 through January 18, 2018, in

Philadelphia, Pennsylvania, defendant WEST, using cellular telephone XXX-XXX-I686,

coordinated sales of cocaine base ("crack") with defendant GADSON, using cellular telephone

XXX-)O(X-6579, including communicating drug amounts remaining and picking up narcotics

from2323 Race Street.

               51.        On or about December 28,2017 , defendants WEST and BAKER had a

telephone conversation to discuss drug trafficking and DTO operations.

               52.        On or about January 1, 2018, defendants WEST and BAKER had a

telephone conversation to discuss drug trafficking, DTO operations, and the roles of members     of

the DTO.

               53.        On or about January 4,2018, defendants WEST and BLANDING used



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their cellular telephones to coordinate members of the DTO bringing drugs from 2323 Race

Street and delivery of drugs to DTO customers.

               54.     On or about January 6,2018, defendants WEST and BAKER had a

telephone conversation to discuss drug trafficking, DTO operations, and the roles of members   of

the DTO.

               55.     On or about January 8, 2018, defendant WEST communicated with

defendant HOOVER that defendant HOOVER can move into the apartment at2323 Race Street

and can get the key to the apartment from defendant BOYER.

               56.     On or about January 10, 2018, defendant WEST communicated with

defendant HOOVER that defendant HOOVER should return the key to the apartment at2323

Race Street to defendant BOYER when defendant HOOVER goes out of town.

               57.     On or about January 19,2018, defendant HOOVER left Philadelphia in

his Volvo truck tractor headed west toward Los Angeles, California.

               58.     On or about January 24,2018, defendants BLANDING and HICKSON

traveled on a flight together from Philadelphia International Airport to Los Angeles International

Airport. Defendant BLANDING communicated with defendant HOOVER when defendant

BLANDING and HICKSON arrived in Los Angeles, and defendant BLANDNG coordinated

with defendant HOOVER to meet with defendant BLANDING and HICKSON.

               59.    On or about January 25,2018, defendants BLANDING, HICKSON, and

HOOVER coordinated transportation and traveled together while in Los Angeles, and stored US

curency in their rental car used in Los Angeles. Defendants BLANDING and HICKSON

coordinated collecting narcotics for the DTO using their cellular telephones.

               60.    On or about January 26,2018, defendants BLANDING, HICKSON and



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HOOVER stored narcotics and/or US Currency in their hotel room and transported narcotics in a

rental car in Los Angeles. Defendants BLANDNG and HICKSON communicated via cellular

telephone to ensure that the packages of narcotics and/or US Currency are hidden from hotel

housekeeping to prevent detection.

               61.     On or about January 27,2018, defendant BLANDING and HICKSON

used their cellular telephones to coordinate meetings.

               62.     On or about January 28,2018, defendants BLANDING and HICKSON

returned to Philadelphia.

               63.     On or about January 31,2018, defendant HOOVER returned to

Philadelphia in his Volvo truck tractor and unloaded narcotics into his Chevrolet Trailblazer,

which he then drove to 2323 Race Street, Philadelphia. Defendant HOOVER delivered the

narcotics to defendant WEST at2323 Race Street, where defendants GADSON and BAKER

were awaiting the delivery.

               64.     On or about January 31,2018, defendant GADSON used his cellular

telephone to communicate with defendant WEST about travelling to 2323 Race Street.

                65.    On or about February 2,2oll,defendant HICKSON used his cellular

telephone to inform defendants WEST and BLANDING that narcotics arrived in Philadelphia on

that date.

               66.     On or about February 2,2018, defendants HOOVER and BLANDING

used their cellular telephones to communicate about paying defendant HOOVER for delivering

narcotics.

               67.     On or about February 3,2018, defendant GADSON communicated with

defendant WEST about the status of their drug trafficking.



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               68.     On or about February 4,2018, defendants BLANDING and HICKSON

met at the apartment at 2323 Race Street.

               69.     On or about February 5,2018, defendants WEST and GADSON

communicated via their cellular telephones about the status of their drug trafficking activities as

well as securing and storing narcotics at the Mansion.

               70.     On or about February 6,2018, defendants HOOVER and BLANDING

coordinated payment of rent at the apartment at2323 Race Street.

               71.     On or about February 7,2018, defendant BLANDING used his cellular

telephone to advise defendants WEST, HICKSON, and BOYER on how to delete data from their

cellular telephones to prevent detection by law enforcement.

               72.     On or about February 10,2018, defendant WEST used his cellular

telephone to request that defendant BLANDING provide him with the keys to 2323 Race Street

left by defendant HOOVER.

               73.     On or about February 15,2018, defendants BLANDING and HICKSON

communicated using their cellular telephones about payment for and/or proceeds of drug

trafficking.

               74.     On or about February 16,2018, defendants WEST and GADSON

communicated using their cellular telephones about their drug trafficking activities.

               75.     On or about February 20,2018, defendant HOOVER left Philadelphia in

his Volvo truck tractor headed west toward Los Angeles, California. Defendant HOOVER

communicated with defendant WEST about the location where defendant HOOVER stores his

Volvo truck tractor.

               76.     On or about February 23,2018, defendants BLANDING and HICKSON



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traveled from Philadelphia International Airport to Los Angeles International Airport, and then

traveled to Las Vegas, Nevada.

                77.     On or about February 25,2018, defendants BLANDING, HICKSON and

HOOVER met together in Los Angeles, California.

                78.     On or about February 25,2018, defendant HICKSON used his cellular

telephone to communicate with defendants WEST and BOYER about drug trafficking

opportunities in California.

                79.     On or about February 26,2018, defendants WEST and BLANDING used

their cellular telephones to arrange to ship a package via FEDEX from Los Angeles to the

Philadelphia, Pennsylvania area.

                80.     On or about February 27,2018, defendants BLANDING and HICKSON

used their cellular telephones to communicate about drug trafficking and a source of supply to

the DTO in New York.

                81.     On or about February 28,2018, defendants BLANDING, HICKSON and

HOOVER used their cellular telephones to communicate with one another about paying for

narcotics in Los Angeles.

                82.     On or about February 28,2018, defendants BLANDING and HICKSON

used their cellular telephones to communicate about meeting at defendant HICKSON's

residence.

                83.     On or about March 1,2018, defendants BLANDING and HICKSON used

their cellular telephone to coordinate future drug trafficking activities in California and the status

of their current drug trafficking.

                84.     On or about March 3,2018, defendant BLANDING used his cellular



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telephone to send defendant HICKSON information on a FEDEX package and a UPS package

sent from Los Angeles to the Philadelphiaareawhile defendants   BLANDING and HICKSON

were in Los Angeles.

              85.      On or about March 4,2018, defendant HOOVER returned to Philadelphia

in his Volvo truck tractor and contacted defendant HICKSON on cellular telephone XXX-XXX-

8500. After defendant HOOVER had parked his Volvo truck tractor, defendants BLANDING

and WEST met defendant HOOVER at the Volvo truck tractor with defendant HOOVER's

Chevrolet Trailblazer. Defendant HOOVER transferred narcotics from the Volvo truck tractor

into the Chevrolet Trailblazer and, along with defendants WEST and BLANDING, traveled to

2323 RaceStreet. Defendant HOOVER then delivered the narcotics to defendants WEST and

BLANDING at2323 Race Street. Defendant GADSON arrived at2323 Race Street shortly

thereafter.

              86.      On or about March 4,2018, defendants WEST and BLANDING used

their cellular telephones to coordinate picking defendant HOOVER up at the location where

defendant HOOVER's Volvo truck tractor arrived.

              87.      On or about March 6,2018, defendant BOYER communicated with

managementat2323 Race Street that he is subletting Apartment 219.

              88.      On or about March 8, 2018, defendant HICKSON traveled to the

Dominican Republic.

              89.      On or about March 9,2018, defendant HICKSON used his cellular

telephone to communicate with defendant BLANDING about sending money to defendant

HICKSON in the Dominican Republic via Western Union'

              90.      On or about March 10, 2018, defendants WEST, BLANDING and



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HICKSON used their cellular telephones to coordinate payment to defendant HOOVER for his

transportation work.

               91.     On or about March 14,2018, defendants WEST and BAKER used their

cellular telephones to discuss drug trafficking activities, the quality of their product, and DTO

operations.

               92.     On or about March 17,20t8, defendants BLANDING and HICKSON

used their cellular telephones to coordinate their next trip to Los Angeles, California.

               93.     On or about March    17   ,2018, defendants WEST and GADSON used their

cellular telephones to coordinate drug sales to customers, to supply other members of the DTO,

and to meet at 2323 Race Street.

               94.     On or about March 25,2018, defendants BLANDING and GADSON used

their cellular telephones to coordinate a drug transaction at the Lounge.

               95.     On or about March 27,2018, defendant HOOVER left Philadelphia in his

Volvo truck tractor headed west toward Los Angeles, California.

               96.     On or about March 30, 2018, defendants BLANDING and HICKSON

traveled from Philadelphia to Las Vegas, Nevada, and then on to Los Angeles, California.


              .97.     On or about March 30,2018, defendant BOYER used his cellular

telephone to communicate with defendant BLANDING about money and an apartment key for

2323 Race Street.

               98.     On or about March 3T,2018, defendant WEST used his cellular telephone

to communicate with defendant BLANDING about drug trafficking activity in Los Angeles.

               99.     On or about April 1,2018, defendants BLANDING and HICKSON used

their cellular telephones to communicate about drug trafficking activities in Los Angeles.



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               100.   On or about April 1, 2018, defendants BLANDING and GADSON used

their cellular telephones to communicate about defendant BLANDING providing drugs for

defendant GADSON to sell when defendant BLANDING returns from Los Angeles.

               101.   On or about Aprll2,2018, defendants BLANDING and HICKSON used

their cellular telephones to communicate with each other about contacting their drug source in

Los Angeles and methods of shipping narcotics from Los Angeles to Philadelphia.

               102.   On or about April 9, 2018, defendant HOOVER retumed to Philadelphia

in his Volvo truck tractor. Defendants WEST and BLANDING drove to meet defendant

HOOVER at the location of his Volvo truck tractor, where defendant HOOVER transferred

narcotics from the Volvo truck tractor into WEST's vehicle. Defendants WEST, BLANDING,

and HOOVER then traveled to 2323 Race Street, where the narcotics were unloaded from

WEST's car and brought into 2323 Race Street.

               103.   On or about April 11,2018, defendant WEST used his cellular telephone

to communicate with defendants BLANDING, BAKER, and BOYER about staying in their

respective roles that defendant WEST established for them in the DTO, and forbidding them

from getting drugs directly from defendant HICKSON.

               104. On or about April 13, 2018, defendants    WEST, BLANDING, and

HOOVER used their cellular telephones to coordinate renting an apartment at One Water Street,

Philadelphia, payment for which would be made through defendant HICKSON. Defendant

WEST provided bank account information to defendant BLANDING to pay for the new

apartment.

               105. On or about April 14, 2018, defendant WEST used his cellular telephone
to coordinate payment of a deposit for an apartment at One Water Street with defendant



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BLANDING and HOOVER to associates of defendant HICKSON. Defendant HOOVER

provided information to WEST and BLANDING confirming defendant HOOVER's payment for

the apartment, and communicated to defendant WEST that defendant HOOVER had provided

the key to 2323 Race Street to defendant BOYER.

                106. On or about April 15, 2018, defendant GADSON        used his cellular

telephone coordinate getting cocaine base ("crack") from defendant BLANDING at the Lounge.

                107. On or about April 17, 2018, defendants     BLANDING and GADSON

coordinate providing methamphetamine to a customer of the DTO.

                108.      On or about April20, 2018, defendants HOOVER and BLANDING used

their cellular telephones to coordinate defendant HOOVER picking up the keys to the apartment

at One Water Street.

                109.      On or about April23,2018, defendant WEST used his cellular telephone

to provide a customer of the DTO the contact information for defendant BAKER to complete the

sale of narcotics.

                11   0.   On or about April 27 , 2018, defendant HOOVER used his cellular

telephone to provide bank account information for rental of the One Water Street Apartment to

defendant BLANDING. Defendant BLANDING then used his cellular telephone to provide

payment confirmation to defendant HICKSON.

                111.      On or about April 30, 2018, defendants WEST and BLANDING used

their cellular telephones to communicate about a bag of money from defendant HICKSON that

was intended for WEST.

                ll2.      On or about May 1, 2018, defendant BLANDING used his cellular

telephone to request that defendant HOOVER get defendant BLANDING some money and meet



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at the Lounge.

                 113. On or about May 2,2018, defendant HOOVER          took possession of the

keys to Apartment 717 of the One Water Street Apartments, 250 N. Christopher Columbus

Boulevard, in Philadelphia. Members of the DTO had rented this apartment using the false

identification of "Deangelo Smith" for the purpose of conducting drug traff,rcking activities in a

manner to protect their narcotics and prevent detection by law enforcement.

                 ll4.   On or about May 3, 2018, defendant BLANDING used his cellular

telephone to request that defendant HOOVER make a copy of the key to the One Water Street

apartment.

                 115. On or about May 3, 2018, defendant WEST used his cellular telephone to
provide the contact information for defendant BAKER to a customer of the DTO to arrange for a

drug transaction.

                 116.   On or about May 4,2018, defendant HOOVER left Philadelphia in his

Volvo truck tractor headed west toward Los Angeles, California.

                 ll7.   On or about May 5, 2018, defendants HICKSON and BLANDING

communicated about defendant HICKSON's source for providing defendant BLANDING with a

false identification in the name of DEANGELO SMITH, the name that was used by the DTO to

rent the apartment at One Water Street.

                 118.   On or about May 9, 2018, defendants BLANDING and HICKSON

traveled from Philadelphia to Los Angeles, California.

                 I19.   On or about May 10, 2018, defendants BLANDING, HICKSON, and

HOOVER met together in Los Angeles.

                 120.   On or about May 11,2018, defendant HOOVER met with defendant



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HICKSON, loaded concealed narcotics into his Volvo truck tractor, and proceeded to travel east

back to Philadelphia, Pennsylvania.

               l2l.   On or about May 16, 2018, defendant BLANDING used his cellular

telephone to contact defendant HOOVER who was driving back to Philadelphia to inform

defendant HOOVER that defendants BLANDING and HICKSON were together and to contact

defendant HICKSON.

               122.   On or about May 16, 2018, defendants WEST and HICKSON

communicated through their cellular telephones about them meeting with a source of supply on

the following Saturday.

               123. On or about May 16, 2018, defendant HOOVER          returned to Philadelphia

in his Volvo truck tractor. Defendant HOOVER then transferred concealed narcotics and US

crrrrency from the Volvo truck tractor into his Chevrolet Trailblazer, and drove to 250 N.

Christopher Columbus Boulevard. Defendant BLANDING met defendant HOOVER at 250 N.

Christopher Columbus Boulevard, and using a key, defendant BLANDING opened the door to

Apartment 717 to admit himself and defendant HOOVER who was transporting approximately

10,004 grams of cocaine, 2,671 grams of methamphetamine, and $20,000 in US currency.

               124.   On or about May 17,2018, defendants BLANDING and HICKSON used

their cellular telephones to coordinate meeting with defendant HOOVER in the morning.

               125.   On or about May 17,2018, defendant BLANDING learned that law

enforcement had seized the drugs stored at One Water Street and contacted defendants WEST,

HICKSON, and BOYER.

               126.   On or about May 17,2018, defendant HICKSON traveled to the

Dominican Republic.



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              127. On or about May 20,2018,            defendant HICKSON used his cellular

telephone to communicate with defendant WEST about the drug seizure from One Water Street.

              128. On or about May 21,2018,            defendant HICKSON used his cellular

telephone to communicate with defendant BLANDING about the drug seizure from One Water




              129.   On or about June 12, 2018 defendant HICKSON traveled from

            International Airport to Los Angeles, California.

          All in violation of Title 21, United   States Code, Section 846.




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                                          COUNT TWO

THE GRAND JURY FURTHER CHARGES THAT:

              On or about May 1, 2017, in Philadelphia, Pennsylvania, in the Eastern District    of

Pennsylvania, defendant

                                    DONTEZ STEWART,
                                       alUa"Tatzr"

knowingly and intentionally distributed   a   mixture and substance containing a detectable amount

ofcocaine base ("crack"), a Schedule II controlled substance.

              In violation of Title 21, United States Code, Section 841(a)(1), (bX1)(C).




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                                          COUNT THREE

THE GRAND JURY FURTHER CHARGES THAT:

              On or about June 6, 2017, in Philadelphia, Pennsylvania, in the Eastern District   of

Pennsylvania, defendant

                                    DONTEZ STEWART,
                                       alWa"Tazr"

knowingly and intentionally distributed   a   mixture and substance containing a detectable amount

ofcocaine base ("crack"), u Schedule II controlled substance.

              In violation of Title 21, United States Code, Section 841(a)(l), (b)(lXC).




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                                             COUNT FOUR

THE GRAND JURY FURTHER CHARGES THAT:

                 On or about June 22,2077 , in Philadelphia, Pennsylvania, in the Eastem District

of Pennsylvania, defendants

                                    ABDUL IBRAHIM WEST,
                                     a/k/a o'Assault Rifle Abr"
                                          a/k/a o'AR-Ab,o'
                                         alWa"El Patronr"
                                      aMa$the Goonr" and
                                      DONTEZ STEWART,
                                            alWa"Tazr"

knowingly and intentionally distributed, and aided and abetted the distribution of,   a   mixture and

substance containing a detectable amount of cocaine base ("crack"), u Schedule     II controlled

substance

                 In violation of Title 21, United States Code, Section 841(a)(1), (b)(1)(C), and

Title   18, United States Code, Section 2.




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                                             COUNT FIVE

THE GRAND JURY FURTHER CHARGES THAT:

         1.      On or about August 17,2017, in Philadelphia, Pennsylvania, in the Eastem

District of Pennsylvania, defendant

                                    ABDUL IBRAHIM WEST,
                                     aflrla "Assault Rifle Ab,'o
                                           aflrla'oAR-Ab,"
                                          a[Wa"El Patronr"
                                      aMa"the Goonr" and
                                      DONTEZ STEWART,
                                             alUa"Tazr"

knowingly and intentionally distributed, and aided and abetted the distribution of, 28 grams or

more, that is, approximately 33.9 grams of a mixture and substance containing a detectable

amount of cocaine base ("crack"), u Schedule II controlled substance.

         2.      It is further alleged that before defendant ABDUL WEST committed the offense

charged in this count, defendant WEST was convicted in the Commonwealth of Pennsylvania             of

the crime of manufacture/deliver/possession with intent to manufacture or deliver of a controlled

substance, in violation of 35 P.S. $ 780-1 13 $$ A30, a serious drug felony, and was sentenced to

3 to 6 years' incarceration, for which he served more than 12 months of imprisonment and for

which he was released from serving any term of imprisonment related to that offense within         15


years of the commencement of the instant offense.

                 In violation of Title 21, United States Code, Section 841(a)(1), (b)(1)(B), and

Title   18, United States Code, Section 2.




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                                          COUNT SIX

THE GRAND JURY FURTHER CHARGES THAT:

       l.      On or about September 17,2017, in Philadelphia, in the Eastem District    of

Pennsylvania, defendants

                                  ABDUL IBRAHIM WEST,
                                   a/k/a "Assault Rifle Abn"
                                        a/k/a "AR-Ab,"
                                       alUa"El Patronr"
                                       a[Wa"the Goon,"
                                   JAMAAL BLANDING,
                                          aMt"Khazr"
                                      alWa"Bionickhaz,"
                                    zlUa"Deangelo Smith,"
                                     JAMEEL HICKSON,
                                        tMa"Melianor"
                                          aMa"OGr"
                                RICHARD CHASE HOOVER,
                                         alUa"Boogr"
                                       AMIR BOYER,
                                        aflrla o'Mulla,"
                                      DARYL BAKBR,
                                        aflrla "Shottir"
                                       HANS GADSON,
                                 a/k/a otNoBrakes Brasr" and
                                     DENNIS HARMON,

knowingly and intentionally possessed with intent to distribute, and aided and abetted the

possession with intent to distribute, of 28 grams or more, that is, approximately 62 grams, of a

mixture and substance containing a detectable amount of cocaine base ("crack"), u Schedule II

controlled substance, 100 grams or more, that is, approximately 229 grams, of a mixture and

substance containing a detectable amount of heroin, a Schedule   I controlled substance, and

approximately 48 grams of a mixture and substance containing a detectable amount of

methamphetamine, a Schedule II controlled substance'




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       2.         It is further alleged that before defendant ABDUL WEST committed the offense

charged in this count, defendant WEST was convicted in the Commonwealth of Pennsylvania         of

the crime of manufacture/deliver/possession with intent to manufacture or deliver of a controlled

substance, in violation of 35 P.S. $ 780-113 $$ A30, a serious drug felony, and was sentenced to

3 to 6 years' incarceration, for which he served more than 12 months of imprisonment and for

which he was released from serving any term of imprisonment related to that offense within     15


years of the commencement of the instant offense.

       3.         It is further alleged that before defendant JAMAAL BLANDING committed the

offense charged in this count, defendant BLANDING was convicted in the Commonwealth            of

Pennsylvania of the crime of manufacture/deliver/possession with intent to manufacture or

deliver of a controlled substance, in violation of 35 P.S. $ 780-113 $$ A30, a serious drug felony,

and sentenced to 2 to 4 years' incarceration, for which he served more than 12 months     of

imprisonment and for which he was released from serving any term of imprisonment related to

that offense within 15 years of the commencement of the instant offense.

                  In violation of Title 21, United States Code, Section 8a1(a)(1), (bX1XB),

(bxlXC),    and   Title   18, United States Code, Section 2.




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                                             COUNT SEVEN

THE GRAND JURY FURTHER CHARGES THAT:

               On or about September 11,2077, in Philadelphia, in the Eastern District     of

Pennsylvania, defendant

                                         DARYL BAKER,
                                          a/k/a "Shotti,"

knowingly and intentionally possessed with intent to distribute 28 grams or more, that is,

approximately 169 grams, of a mixture and substance containing a detectable amount of cocaine

base ("crack"), o Schedule   II controlled   substance, and mixture and substance containing a

detectible amount of cocaine, a Schedule II controlled substance.

               In violation of Title 21, United States Code, Section 841(a)(1), (bX1XB),

(bxlxc).




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                                       COUNT EIGHT

THE GRAND JURY FURTHER CHARGES THAT:

              On or about October 19,2017, in Philadelphia, Pennsylvania, in the Eastern

District of Pennsylvania, defendant

                                      DONTEZ STEWART,
                                         alWa"Tzzr"

knowingly and intentionally distributed 5 grams or more, that is, approximately 6.8 grams of

methamphetamine, a Schedule II controlled substance.

              In violation of Title 21, United States Code, Section 841(a)(1), (bX1XB).




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                                         COUNT NINE

     GRAND JURY FURTHER CHARGES THAT:

               On or about October 19,2017, in Philadelphia, Pennsylvania, in the Eastern

        of Pennsylvania, defendant

                                     DONTEZ STEWART,
                                        a[Wa"Tazr"

knowingly and intentionally distributed 28 grams or more, that is, approximately 31.3 grams of

cocaine base ("crack"), u Schedule II controlled substance.

               In violation of Title 21, United States Code, Section 841(a)(1), (b)(1XB)




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                                           COUNT TEN

THE GRAND JURY FURTHER CHARGES THAT:

                 On or about October 19,2017 , in Philadelphia, in the Eastern District   of

P   ennsylvania, defendant

                                      DONTEZ STEWART,
                                         alWa"Tazr"

knowing he had previously been convicted in a court of the Commonwealth of Pennsylvania of a

crime punishable by imprisonment for a term exceeding one year, knowingly possessed a

firearm, that is, a.25 caliber Phoenix Arms Model HP25A, bearing serial number 4400590, and

that firearm was in and affecting interstate and foreign commerce.

                 In violation of Title 18, United States Code, Section 922(d0).




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                                          COUNT ELEVEN

THE GRAND JURY FURTHER CHARGES THAT:

          1   .   On or about December 13,2077, in Philadelphia, Pennsylvania, in the Eastem

District of Pennsylvania, defendants

                                       JAMAAL BLANDING,
                                          aMa"Khazr"
                                         alUa "Bionickhaz,"
                                       alUa"Deangelo Smith,"

knowingly and intentionally distributed, and aided and abetted the distribution of, 50 grams or

more, that is, approximately 53.82 grams, of methamphetamine, a Schedule II controlled

substance.

         2.       It is further alleged that before defendant JAMAAL BLANDING committed the

offense charged in this count, defendant BLANDING was convicted in the Commonwealth             of

Pennsylvania of the crime of manufacture/deliver/possession with intent to manufacture or

deliver of a controlled substance, in violation of 35 P.S. $ 780-1 13 $$ A30, a serious drug

felony, and was sentenced to 2 to 4 years' incarceration, for which he served more than 12

months of imprisonment and for which he was released from serving any term of imprisonment

related to that offense within 15 years of the commencement of the instant offense.

                  In violation of Title 21, United States Code, Section 841(a)(1), (b)(1)(A), and

Title   18, United States Code, Section 2.




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                                          COUNT TWELVE

THE GRAND JURY FURTHER CHARGES THAT:

         1.      On or about May 17,2018, in Philadelphia, in the Eastern District   of

Pennsylvania, defendants

                                      ABDUL IBRAHIM WEST,
                                        afl</a "Assault Rifle Abo"
                                              a/k/a "AR-Ab,"
                                             alUa'oBl Patron,"
                                             aMa"the Goonr"
                                        JAMAAL BLANDING,
                                               alUao'Khuzr"
                                           aMa "Bionickhazr"
                                        alUa"Deangelo Smithr"
                                          JAMEEL HICKSON,
                                             alWa"Meliano,"
                                              alkh "OG," and
                                     RICHARD CHASE HOOVER,
                                               alWa"Boogr"

knowingly and intentionally possessed with intent to distribute, and aided and abetted the

possession with intent to distribute, 5 kilograms or more, that is, approximately 10,004 grams,       of

a   mixture and substance containing a detectable amount of cocaine, a Schedule II controlled

substance, and 50 grams or more, that is, approximately 2,671grams, of methamphetamine, a

Schedule    II controlled   substance.

         2.      It is further alleged that before defendant ABDUL WEST committed the offense

charged in this count, defendant WEST was convicted in the Commonwealth        of Pennsylvania of

the crime of manufacture/deliver/possession with intent to manufacture or deliver of a controlled

substance, in violation of 35 P.S. S 780-113 $$ A30, a serious drug felony, and was sentenced to

3 to 6 years' incarceration, for which he served more than 12 months of imprisonment and        for

which he was released from serving any term of imprisonment related to that offense within 15

years of the commencement of the instant offense.


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         3.      It is further alleged that before defendant JAMAAL BLANDING committed the

offense charged in this count, defendant BLANDING was convicted in the Commonwealth            of

Pennsylvania of the crime of manufacture/deliver/possession with intent to manufacture or

deliver of a controlled substance, in of violation of 35 P.S. $ 780-113 $$ A30, a serious drug

felony, and was sentenced to 2 to 4 years' incarceration, for which he served more than 12

months of imprisonment and for which he was released from serving any term of imprisonment

related to that offense within 15 years of the commencement of the instant offense.

                 In violation of Title 21, United States Code, Section 841(a)(1), (b)(1)(A), and

Title   18, United States Code, Section 2.




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                                      COUNT THIRTEEN

THE GRAND JURY FURTHER CHARGES THAT:

               On or about October 18, 2018, in Philadelphia, Pennsylvania, in the Eastern

District of Pennsylvania, defendant

                                        AMIR BOYER,
                                         zlUao'l[[ulla,"

knowingly and intentionally possessed with intent to distribute for remuneration    a   mixture and

substance containing a detectable amount of marihuana, a Schedule   I controlled.

               In violation of Title 21, United States Code, Section 841(a)(1), (bX1)(D).




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                                     COUNT FOURTEEN

THE GRAND JURY FURTHER CHARGES THAT:

               On or about October 18, 2018, in Philadelphia, in the Eastern District   of

Pennsylvania, defendant

                                        AMIR BOYER,
                                        a/k/a "Mullar"

knowing he had previously been convicted in a court of the Commonwealth of Pennsylvania of a

crime punishable by imprisonment for a term exceeding one year, knowingly possessed a

firearm, that is, a 9mm SCCY Model CPX-I, bearing serial number 5l6369,loaded with eight

live rounds of ammunition, and that firearm was in and affecting interstate and foreign

commerce.

               In violation of Title 18, United States Code, Section 922(g(l).




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                                        COUNT FIFTEEN

THE GRAND JURY FURTHER CHARGES THAT:

               On or about October 18, 2018, in Philadelphia, in the Eastern District    of

Pennsylvania, defendant

                                          AMIR BOYER,
                                          afl<,/a "Mulla,"


knowingly possessed a firearm in furtherance of a drug trafficking crime for which he may be

prosecuted in a court of the United States, that is, possession with intent to distribute a controlled

substance in violation of Title 21, United States Code, Section 841(a)(1), as charged in Count

Thirteen of this Indictment.

               In violation of Title 18, United States Code, Section 92a@)Q).




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                                      COUNT SIXTEEN

THE GRAND JURY FURTHER CHARGES THAT:

               On or about October 18, 2018, in Philadelphia, in the Eastern District   of

Pennsylvania, defendant

                                       DARYL BAKER,
                                        a/k/a "Shotti,"

knowing he had previously been convicted in a court of the Commonwealth of Pennsylvania of a

crime punishable by imprisonment for a term exceeding one year, knowingly possessed a

firearm, that is, a 9mm Master piece Arms model MPA30, bearing serial numberF23222, artd

that firearm was in and affecting interstate and foreign commerce.

               In violation of Title 18, United States Code, Section 922(g(l).




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                               NOTICE OF FORFEITURE No.             I
THE GRAND JURY FURTHER CHARGES THAT:

                1.     As a result of the violations of Title 21, United States Code, Sections

841(a)(1), 846 set forth in this indictment, defendants

                                       ABDUL IBRAHIM WEST,
                                        a/k/a "Assault Rifle Ab,"
                                             a/k/a "AR-Ab,"
                                            aHa"El Patronr"
                                            aMa"the Goon,"
                                        JAMAAL BLANDING,
                                              alWa "Khazr"
                                           alWa"Bionickhazr"
                                        aMa"Deangelo Smithr"
                                         JAMEEL HICKSON,
                                            a/k/a "Meliano,"
                                               alUa "OGr"
                                     RICHARD CHASE HOOVER,
                                              alWa"Boogr"
                                         DONTEZ STEWART,
                                               aMa "Tazr"
                                             AMIR BOYER,
                                            ilWa"Mtulla,"
                                           DARYL BAKER,
                                              a/k/a'6Shottir"
                                             HANS GADSON,
                                             (NoBrakes Brasr"
                                      afl</a                  and
                                          DENNIS HARMON,

shall forfeit to the United States of America:

                       (a)      any property used or intended to be used, in any manner or part, to

commit, or to facilitate the commission of, such violation(s), including, but not limited to:

                                         Volvo truck tractor registered to TEAM
                                         TRANSPORTATION (VIN: 4V4NC9EJ1CN558888) and
                                         trailer;
                               lt.       Chevrolet Trailblazer registered to RICHARD CHASE
                                         HOOVER (VIN: 1 GNDT33 S 392t33562):
                               iii.      The real property located at3234 Sydenham Street,
                                         Philadelphia, PA;
                               iv.       Dodge Durango, VIN 1C4RDJAG2JC10|652;


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                                  v.      Jeep Grand Cherokee,      VIN 1C4zuFAG9EC479l72.

                        (b)       any property constituting, or derived from, proceeds obtained,

directly or indirectly, from the commission of such violations, including, but not limited to:

                                  i.      $8,101 seized on September l      l,   2017;

                                  ii.     $20,000 seized on May 17,2018;

                                  iii.    $11,000 seized on June 4,2018; and

                                  iv.     $10,793 seized on October 18, 2018.

                2.      If any of the property subject to forfeiture,    as a result of any act or

omission of the defendant(s):

                        (a)       cannot be located upon the exercise of due diligence;

                        (b)       has been transferred or sold to, or deposited     with,   a   third party;

                        (c)       has been placed beyond the     jurisdiction of the Court;

                        (d)       has been substantially diminished in value; or

                        (e)       has been commingled       with other property which cannot be divided

without difficulty;

it is the intent of the United   States, pursuant to   Title 21, United States Code, Section 853(p), to

seek forfeiture of any other property of the defendant(s) up to the value of the property subject to

forfeiture.

                All pursuant to Title 21, United       States Code, Section 853.




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                                       NOTICE OF FORFEITURE No.2

THE GRAND JURY FURTHER CHARGES THAT:

                     As a result of the violation of Title 18, United States Code, Section 922(9) and

924   (c)   set   forth in this indictment, defendants

                                             DONTEZ STEWART,
                                                  alWa"Tazr"
                                               AMIR BOYER,
                                              a/k/a o'Mullar" and
                                              DARYL BAKER,
                                                a/k/a "Shotti,"

shall forfeit to the United States of America all firearms and ammunition involved in the

commission of such violation(s), including, but not limited to

            l.    One   (l)   .25 caliber Phoenix Arms Model HP25A firearm bearing serial number

                  4400590.

            2.    One (1) 9mm SCCY Model CPX-I firearm bearing serial number 516369.

            3.    One (1) 9mm Masterpiece Arms model MPA30 bearing serial numberF23222.




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              All pursuant to Title 28, United   States Code, Section 2461(c) and   Title   18, United

States Code, Section 924(d).




                                            A TRUE BILL:




                                            FOREPERSON




WILLIAM M. McSWAIN
United States Attorney




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                                                                                                             ,-


                    All pursuant to Title 28, United   States Code, Section   2a$@) and Title   18, United


      States Code, Section 924(d).




                                                  A TRUE BILL:




                                                  FOREPERSON




Qor               M. McSWAIN
      U      States Attorney




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